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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 16-898V
                                    Filed: September 28, 2017

* * * * * * * * * * * * * *                           Special Master Sanders
GIDGET MILLER,             *
                           *                          Dismissal; Insufficient Proof; Human
          Petitioner,      *                          Papillomavirus (“HPV”) Vaccine; Varicella
                           *                          Vaccine; Narcolepsy; Cataplexy; Neurologic
 v.                        *                          And/Or Physical Impairments.
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
          Respondent.      *
* * * * * * * * * * * * * *
Michael McLaren, Black McLaren, et al., PC, Memphis, TN, for Petitioner.
Ilene Albala, U.S. Department of Justice, Washington, DC, for Respondent.

                                            DECISION1

        On July 27, 2016, Monica Miller filed a petition on behalf of her minor daughter, Gidget
Miller (“Petitioner”), for compensation under the National Vaccine Injury Compensation
Program2 (“the Program”). Petitioner alleges that the human papillomavirus (“HPV”) and/or
varicella vaccinations administered on August 8, 2013, and/or the HPV vaccination administered
on October 22, 2013, resulted in either the development of or significant aggravation of
Petitioner’s narcolepsy, cataplexy, neurologic and/or physical impairments and other injuries. See
Petition (“Pet.”) at 1, ECF No. 1. The information in the record, however, does not show
entitlement to an award under the Act.


1
  This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion
for redaction must include a proposed redacted decision. If, upon review, the undersigned agrees
that the identified material fits within the requirements of that provision, such material will be
deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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        On September 28, 2017, Petitioner moved for a decision dismissing her claim. See Motion
for Decision Dismissing the Petition (“Mot.”), ECF No. 32. In her Motion, Petitioner concedes
that she “has been unable to secure sufficient and/or persuasive evidence to prove entitlement to
compensation in the Vaccine Program.” Id. at 1. Furthermore, Petitioner states that “[i]n these
circumstances, to proceed further would be unreasonable and would waste the resources of the
Court, Respondent, Petitioner, and the Vaccine Program.” Id. Petitioner filed this motion without
opposition from Respondent. Thus, this matter is now ripe for decision.

        To receive compensation under the Program, Petitioner must prove either 1) that she
suffered a “Table Injury”—i.e., an injury falling within the Vaccine Injury Table—corresponding
to her vaccination, or 2) that she suffered an injury that was actually caused by a vaccine. See §§
13(a)(1)(A), 11(c)(1). An examination of the record did not uncover any evidence that Petitioner
suffered a “Table Injury.” Further, the record does not contain persuasive evidence that
Petitioner’s alleged injuries were caused or significantly aggravated by her HPV and/or varicella
vaccinations.

       Under the Act, petitioners may not be given a Program award based solely on their claims
alone. Rather, the petition must be supported by medical records or the opinion of a competent
physician. § 13(a)(1). In this case, the medical records are insufficient to prove Petitioner’s claim,
and Petitioner has not filed a supportive opinion from an expert witness. Therefore, this case must
be dismissed for insufficient proof. The Clerk shall enter judgment accordingly.

       IT IS SO ORDERED.

                                               s/Herbrina D. Sanders
                                               Herbrina D. Sanders
                                               Special Master




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